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                                                                           PI' I ZU,S.
                                                                                  : 10
                                                                                       Department     of Justice

                                                                                 United States Attorney
                                                               ".                District of Maryland


               Stephen M. Schenning
                                                             ----~-       36 South Charles Street          DIRECT: 4/0-209-4859
               Acting United States Attorney                              Fourth Floor                        MAIN: 410-209-4800
                                                                          Baltimore. Mary/and 21201            FAX: 4/0-962-07/7
               Kenneth S. Clark                                                                           rrrffDD: 4/0-962-4462
               Assistant United States Anomey                                                            Kenneth. Clarlc@usdoj.gov



                                                                                 January 25,2018

               VIA EMAIL AND US MAIL

               Harry J. Trainor, Esq.
               Trainor, Billman, Bennett & Milko, LLP
               116 Cathedral Street, Suite E
               Annapolis, Maryland 21401

                Richard C. Bittner, Esq .
          •.....7 Central Avenue, Suite 20 I
        -...c.-Glen Burnie, Maryland 21061

    CJ'                   Re:         United States v. Elvin Diaz-Hemandez,
 ::S                                  Crim. No. JKB-16-0259
'G.            Dear Counsel:

                        This letter, together with the Sealed Supplement, confirms the plea agreement which has
               been offered to your client, Elvin Diaz-Hemandez (the "Defendant"), by the United States
               Attorney's Office for the District of Maryland and the Organized Crime and Gang Section of the
               Criminal Division (hereinafter "this Office"). If the Defendant accepts this offer, please have him
               execute it in the spaces provided below. If this offer has not been accepted by January 31, 2018,
               it will be deemed withdrawn. The terms of the agreement are as follows:

                                                           Offenses of Conviction

                       I.     The Defendant agrees to waive indictment and plead guilty to an Information
               charging him with a racketeering conspiracy, in violation of 18 U.S.C. S 1962(d). The Defendant
               admits that he is, in fact, guilty of this offense and will so advise the Court.

                                                          Elements of the Offense

                      2.      The elements ofthe offense to which the Defendant has agreed to plead guilty, and
               which this Office would prove if the case went to trial, are that in the District of Maryland and
               elsewhere, from at least 2015 to the date of the Information:
        a. An enterprise, La Mara Salvatrucha ("MS-13"), existed, consisting of a group of
           persons associated together for a common purpose of engaging in a course of conduct
           through a pattern of racketeering activity;

        b. That the defendant knowingly and willfully agreed to conduct or participate, directly
           or indirectly, in the conduct of the affairs of the enterprise MS-13;

        c. That the enterprise was engaged in, or its activities would affect, interstate or foreign
           commerce; and

        d. The Defendant knowingly and willfully conspired with one or more persons to conduct
           and participate in the affairs of the enterprise through a pattern of racketeering activity
           that would constitute violations of 18 U.S.C. 9 1962(c), including acts for which the
           maximum penalty includes life imprisonment.


                                              Penalties

        3.      Pursuant to 18 U.S.c. 9 1963, the maximum sentence provided by statute for the
offense to which the Defendant is pleading guilty is life imprisonment, five years of supervised
release, and a $250,000 fme. In addition, the Defendant must pay $100 as a special assessment
pursuant to 18 U.S.C. 93013, which will be due and should be paid at or before the time of
sentencing. This Court may also order him to make restitution pursuant to 18 U.S.C. 99 3663,
3663A, and 3664. I If a fme or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. 9 3572(d), the Court orders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked - even on the last day
of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term of imprisonment imposed.

                                         Waiver of Rights

        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                 a.     If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.



               Pursuant to 18 U.S.c. 9 3612, if the Court imposes a fine in excess of$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that fme,
unless the Court modifies the interest payment in accordance with 18 U.S.c. 93612(1)(3).

                                                  2
                 b.      If the Defendant elected a jury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
 to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
 would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
 would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

                c.     If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

                 d.      The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. Ifhe chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

               e.      If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against his. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court's decisions.

                 f.     By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the "Waiver of Appeal" paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court's questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

                 g.     If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

                h.      By pleading guilty, the Defendant also will be giving up certain valuable
civil rights and will be subject to deportation or other loss of immigration status. The Defendant
recognizes that if he is not a citizen of the United States, pleading guilty may have consequences
with respect to his immigration status. Under federal law, conviction for a broad range of crimes
can lead to adverse immigration consequences, including automatic removal from the United
States. Removal and other immigration consequences are the subject of a separate proceeding,
however, and the Defendant understands that no one, including his attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant nevertheless
affirms that he wants to plead guilty regardless of any potential immigration consequences.



                                                 3
                                   Advisory Sentencing Guidelines Apply

            5.      The Defendant understands that the Court will determine a sentencing guidelines
    range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
    Act of 1984 at 18 U.S.c. SS 3551-3742 (excepting 18 U.S.C. SS 3553(b)(l) and 3742(e)) and
    28 U.S.c. SS 991 through 998. The Defendant further understands that the Court will impose a
    sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
    advisory guidelines range in establishing a reasonable sentence.

                                Factual and Advisory Guidelines Stipulation

            6.      This Office and the Defendant understand, agree, and stipulate to the Statement of
    Facts set forth in Attachment A hereto which this Office would prove beyond a reasonable doubt,
    and to the following applicable sentencing guidelines factors:

                   a.       Pursuant to U.S.S.G. S 2El.l(b), the base offense level the greater of
    offense level 19 or the offense level applicable to the underlying racketeering activity.

                    b.      The parties agree and stipulate that pursuant to U.S.S.G. S 1B 1.3, the
    underlying racketeering activities in this case involve acts, committed, aided, abetted, counseled,
    commanded, induced, or willfully caused by the Defendant, as well as all those acts reasonably
    foreseeable to him in furtherance of the jointly undertaken criminal enterprise, and include, among
    others: first-degree murder, in violation of Maryland Code Ann. Crim. Law SS 2-20 I and 2-204,

-
I   and assault with intent to commit murder, in violation of Maryland Code Ann. Crim. Law S 3-202.

                    c.      Pursuant to U.S.S.G. S 2Al.l(a) the base offense for first-degree murder is
    43. Pursuant to U.S.S.G. S 2AI.5(c)(2) and 2A2.1, the base offense level assault with intent to
    commit murder is thirty-three (33). Further, that level is increased by four (4) levels pursuant to
    U.S.S.G. S 2A2.1(b)(l)(A), because the victim sustained serious bodily injury. The final offense
    level for the assault with intent to commit murder is 37.

                    d.      Grouping: The two offenses constitute separate groups under U.S.S.G.
    S 3D1.2.  Pursuant to U.S.S.G. S 301.4, these crimes constitute I Y,units resulting in a combined
    offense level of 44 for the offenses.

                    e.       This OffIce does not oppose a two-level reduction in the Defendant's
    adjusted offense level, based upon the Defendant's apparent prompt recognition and affmnative
    acceptance of personal responsibility for his criminal conduct. This Office agrees to make a
    motion pursuant to U.S.S.G. S 3E 1.1(b) for an additional one-level decrease in recognition of the
    Defendant's timely notification of his intention to plead guilty. This Office may oppose any
    adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every item
    in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting statements
    about his involvement in the offense; (d) is untruthful with the Court, this Office, or the United
    States Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages
    in any criminal conduct between the date of this agreement and the date of sentencing; or (g)
    attempts to withdraw his plea of guilty. The fmal offense level is 41.

                                                      4
        7.       The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level ifhe is a career
offender or if the instant offense was a part ofa pattem of criminal conduct from which he derived
a substantial portion of his income.

        8.      This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense characteristics, sentencing guidelines factors, potential
departures or adjustments set forth in the United States Sentencing Guidelines will be raised or are
in dispute. If the Defendant wishes to argue for any other factor that could take the sentence
outside of the advisory guidelines range, he will notify the Court, the United States Probation
Officer and government counsel at least fourteen days in advance of sentencing of the facts or
issues he intends to raise.

                                       Obligations of the Parties

         9.      At the time of sentencing, this Office will recommend a reasonable sentence
consistent with this agreement and the factors in 18 U.s.c. ~ 3553(a). This Office has already
indicated that it will not seek the death penalty in relation to this case. This Office will also dismiss
any open counts pending against the Defendant.

         10.   The parties reserve the right to bring to the Court's attention           at the time of
sentencing, and the Court will be entitled to consider, all relevant information         concerning the
Defendant's background, character and conduct.


                                           Waiver of Appeal

       II.     In exchange for the conccssions madc by this Officc and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

               a.      The Defendant knowingly waives all right, pursuant to 28 U.S.c. ~ 1291 or
otherwise, to appeal the Defendant's conviction.

                 b.      The Defendant and this Office knowingly waive all right, pursuant to
18 U.S.c. ~ 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relatc to the establishment          of the advisory guidelines range, the
determination of the Defendant's criminal history, the weighing of the sentencing factors, and the
decision whether to impose and the calculation of any term of imprisonment, fine, order of
forfeiture, order of restitution, and term or condition of supervised release).

                c.       Nothing in this agreement shall be constmed to prevent the Defendant or
this Office from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a scntence be imposed that resulted from
arithmetical, technical, or other clear error.


                                                    5
                    d.      The Defendant waives any and all rights under the Freedom of Information
    Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
    file any request for documents from this Office or any investigating agency.

                                   Obstruction or Other Violations of Law

             12.     The Defendant agrees that he will not commit any offense in violation of federal,
    state or local law between the date of this agreement and her sentencing in this case. In the event
    that the Defendant (i) engages in conduct after the date of this agreement which would justify a
    fmding of obstruction of justice under U.S.S.G. S 3Cl.1, or (ii) fails to accept personal
    responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
    prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
    law, then this Office will be relieved of its obligations to the Defendant as reflected in this
    agreement. Specifically, this Office will be free to argue sentencing guidelines factors other than
    those stipulated in this agreement, and it will also be free to make sentencing recommendations
    other than those set out in this agreement. As with any alleged breach of this agreement, this
    Office will bear the burden of convincing the Court of the Defendant's obstructive or unlawful
    behavior and/or failure to acknowledge personal responsibility by a preponderance of the evidence.
    The Defendant acknowledges that he may not withdraw his guilty plea because this Office is
    relieved of its obligations under the agreement pursuant to this paragraph.


o            13.
                                              Court Not a Party

                    The Defendant expressly understands that the Court is not a party to this agreement.
    In the federal system, the sentence to be imposed is within the sole discretion of the Court. In
    particular, the Defendant understands that neither the United States Probation Office nor the Court
    is bound by the stipulation set forth above, and that the Court will, with the aid of the Presentence
    Report, determine the facts relevant to sentencing. The Defendant understands that the Court
    cannot rely exclusively upon the stipulation in ascertaining the factors relevant to the determination
    of sentence. Rather, in determining the factual basis for the sentence, the Court will consider the
    stipulation, together with the results of the presentence investigation, and any other relevant
    information. The Defendant understands that the Court is under no obligation to accept this
    Office's recommendations, and the Court has the power to impose a sentence up to and including
    the statutory maximum stated above. The Defendant understands that if the Court ascertains
    factors different from those contained in the stipulation set forth above, or if the Court should
    impose any sentence up to the maximum established by statute, the Defendant cannot, for that
    reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his obligations under
    this agreement. The Defendant understands that neither the prosecutor, his counsel, nor the Court
    can make a binding prediction, promise, or representation as to what guidelines range or sentence
    the Defendant will receive. The Defendant agrees that no one has made such a binding prediction
    or prolTIlse.

                                             Entire Agreement

             14.   This letter supersedes any prior understandings, promises, or conditions between
    this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
                                                      6
plea agreement in this case. The Defendant acknowledges that there are no other agreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.


        If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.

                                                             Very truly yours,

                                                             Stephen M. Schenning
                                                             Acting United States Attorney


                                                       By:
                                                             (tl,         /
                                                                   elli:Clark
                                                             Clinton Fuchs
                                                             Assistant United States Attorneys

                                                             Catherine K. Dick
                                                             Trial Attorney
                                                             Organized Crime and Gang Section


         I have had this agreement interpreted for me, including the Sealed Supplement, and
carefully reviewed every part of it with my attorneys and an interpreter. I understand it, and I
voluntarily agree to it. Specifically, I have reviewed the Factual and Advisory Guidelines
Stipulation with my attorneys, and I do not wish to change any part of it. I am completely satisfied
with the representation of my attorneys.


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Date
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                                                     Elvin Diaz-Hernandez

         We are Elvin Diaz-Hemandez's attorneys. We have carefully reviewed every part of this
agreement, including the Sealed Supplement with him through an interpreter. He advises us that
he understands and accepts its terms. To our knowledge, his decision to enter into this agreement
is an informed and voluntary one.




                                                 7
                                         ATTACHMENT A
                                         Statement of Facts

         The United States and the Defendant stipulate and agree that if this case proceeded to trial.
the United States would prove the facts set forth below beyond a reasonable doubt. They further
stipulate and agree that these are not all of the facts that the United States would prove if this case
proceeded to trial.

         La Mara Salvatrocha, aik/a the MS-13 gang ("MS-13"), is a gang composed primarily of
immigrants or descendants of immigrants from EI Salvador, with members operating in the State
of Maryland, including Montgomery County and Prince George's County, and throughout the
United States. In the United States, MS-13 has been functioning since at least the 1980s. MS-13
originated in Los Angeles, California, where MS-13 members banded together for protection
against the larger Mexican groups. MS-13 evolved into a gang that engaged in turf wars for the
control of drug distribution locations. MS-13 quickly spread to states across the country, including
Maryland. MS-13 is a national and international criminal organization and is one of the largest
street gangs in the United States. Gang members actively recruit members, including juveniles,
from communities with a large number of Salvadorian immigrants.

        At all relevant times, members ofMS-13 from time to time signified their membership by
wearing tattoos reading "MARA SALVATRUCHA," "MS," "MS-13," or similar tattoos, often
written in gothic lettering. Members also signified their membership through tattoos of devil horns
in various places on their bodies. Members sometime avoid conspicuous MS-13 tattoos with
discreet ones such as "503," spider webs, three dots in a triangle formation signifying "vida loca,"
or clown faces with phrases such as "laugh now, cry later." Some MS-13 members have chosen
not to have tattoos at all, or to have them placed on areas such as the hairline where they can be
easily covered, in order to conceal their gang affiliation from law enforcement.

         The gang colors of MS-13 were blue, black and white, and members often wore clothing,
particularly sports jerseys, with the number "13" or with numbers that, when added together,
totaled 13, such as "76." MS-13 members also wore blue and white clothing to represent their
membership, including blue and white shoes such as Nike "Cortez." As with tattoos, some MS-13
members have selected more discreet ways of dressing in order to signify their membership and at
the same time avoid detection by law enforcement. MS-13 members referred to one another by
their gang names, or monikers, and often did not know fellow gang members except by their gang
names.

         At all relevant times, members of MS-13 were expected to protect the name, reputation,
and status of the gang from rival gang members and other persons. MS-13 members required that
all individuals show respect and deference to the gang and its membership. To protect the gang
and to enhance its reputation, MS-13 members were expected to use any means necessary to force
respect from those who showed disrespect, including acts of intimidation and violence.

         At all relevant times, members and associates of MS-13 frequently engaged in criminal
activity, including, but not limited to, murder, assault, kidnaping, robbery, extortion, obstruction
of justice and threatening, intimidating and retaliating against witnesses, as well as attempts and
                                                  8
     conspiracies to commit such offenses. MS-13 members were required to commit acts of violence
     both to maintain membership and discipline within the gang and against rival gangs. Participation
     in criminal activity by a member, particularly violent acts directed at rival gangs or as directed by
     the gang leadership, increased the respect accorded to that member, resulted in that member
     maintaining or increasing his position in the gang, and opened the door to a promotion to a
     leadership position. One of the principal rules ofMS-13 was that its members must attack and kill
     rivals whenever possible. Rivals are often referred to as "chavalas." MS-I3, in the area of Prince
     George's County and Montgomery County, maintain rivalries with the 18th Street Gang, Latin
     Kings, Adelphi Crew, and the Lewisdale Crew, among others.

              At all relevant times, prospective members who sought to join MS-13 were required to
     complete an initiation process. Individuals who associated with and were friends of the gang were
     called "paisas." Individuals who did favors and other acts for the gang were called "paros."
     Persons being observed by the gang for potential membership were known as "observations."
     Individuals who had advanced to the final level before being 'Jumped in" were called "chequeos,"
     or "cheqs."2 Chequeos underwent a probationary period during which they were required to
     commit crimes on behalfofMS-13 to achieve trust and prove their loyalty to the gang. Tojoin
     MS-13 and become a full member or "homeboy," prospective members were required to complete
     an initiation process, often referred to as being 'Jumped in" or "beat in" to the gang. During that
     initiation, other members of MS-13 would beat the new member, usually until a gang member
     fmished counting aloud to the number thirteen, representing the "13" in MS-13.

Q            MS-13 is an international criminal organization, and is organized in Maryland and
~)   elsewhere into "cliques," that is, smaller groups operating in a specific city or region. Cliques
     operated under the umbrella rules of MS-13. MS-13 cliques often work together cooperatively to
GJ   engage in criminal activity and to assist one another in avoiding detection by law enforcement. In
     Maryland and the surrounding area, these cliques included Fulton Locos Salvatruchas ("FLS"),
     Molinos Locos Salvatruchas ("MLS"), Sailors Locotes Salvatrucha Westside ("SLSW"),
     Parkview Locotes Salvatrucha ("PVLS"), Normandie Locotes Salvatruchas ("NLS"), Weedons
     Locotes Salvatrucha ("WLS"), Peajes Locotes Salvatrucha ("PLS") and Langley Park
     Salvatruchas ("LPS").

             MS-I3, including its leadership, members and associates, constitute an "enterprise" as
     defined in Sections 1961(4) and 1959(b)(2) of Title 18, United States Code, that is, a group of
     individuals associated in fact that engage in, and the activities of which affect, interstate and
     foreign commerce. The enterprise constitutes an ongoing organization whose members function
     as a continuing unit for the common purpose of achieving the objectives of the enterprise. The
     purposes of the enterprise include the following:

             I.      Preserving and protecting the power, territory and profits of the enterprise through
     the use of intimidation, violence, including assaults and murder, and threats of violence;



             The terms "MS-13 associate" or "associate of MS-13" are used broadly in this Statement
     of Facts and include persons known as paisas, paros, observations, and chequeos. In addition, the
     names of the titles for levels or ranks of involvement are constantly changing within MS-13.
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     '.




                 2.      Promoting and enhancing the enterprise and its members' and associates' activities;

                3.     Keeping victims and potential victims in fear of the enterprise and in fear of its
          members and associates, through violence and threats of violence;

                 4.       Providing financial support and information to gang members, including those who
          were incarcerated for committing acts of violence or other offenses; and

                   5.     Providing assistance to other gang members who committed crimes for and on
          behalf of the gang in order to hinder, obstruct and prevent law enforcement officers from
          identifying the offender, apprehending the offender and trying and punishing the offender.

               Within ten years prior to January 2015, in the District of Maryland, MS-13, through its
      members and associates, engaged in a pattern of racketeering activity as defmed in Sections
      1961(1) of Title 18, United States Code, including multiple acts involving murder, extortion and
      distribution of controlled substances in violation of federal laws and the laws of the state of
      Maryland.

               From an unknown time but before in or about March 2015, the Defendant, ELVIN DIAZ-
      HERNANDEZ, was a member and associate of the Fulton clique ofMS-13.               The Defendant

Q     agreed with members ofMS-13 to conduct and participate in the gang's affairs through a pattern
      of racketeering activity that included conspiracy to commit murder and offenses involving drug
      distribution. The Defendant agrees that the "Overt Acts" in the Information represent an accurate
 J    sample of his activities in furtherance of the racketeering enterprise.
GJ             On or about April 7, 2015, DIAZ-HERNANDEZ, along with other MS-13 members and
      associates, for the purpose of maintaining and increasing position in the MS-13, murdered Victim
      2, who DIAZ-HERNANDEZ and others believed to be a rival gang member. Other gang
      members identified Victim 2 at a restaurant in Frederick, Maryland. They then called DIAZ-
      HERNANDEZ to inform him that they had a potential victim. They then lured Victim 2 to a
      wooded area in Frederick, Maryland. Co-Conspirator I brought weapons to that area and DIAZ-
      HERNANDEZ met them there. Co-Conspirator 2 hit Victim 2 in the head with a rock while Co-
      Conspirator I pointed an air gun (that looked like a real gun) at Victim 2 to hold him in place.
      DIAZ-HERNANDEZ then struck Victim 2 with a machete. DIAZ-HERNANDEZ and Co-
      Conspirator 2 both ultimately hit Victim 2 with a machete and knife until he was dead. The day
      after the murder, Co-Conspirator I and Co-Conspirator 2 buried Victim 2 in the woods near the
      site of the murder, where his body was ultimately recovered.

               In or around August 2015, DIAZ-HERNANDEZ, along with other MS-13 members and
      associates, for the purpose of maintaining and increasing position in MS-13, plarmed and conspired
      to murder Victim I, who DIAZ-HERNANDEZ and his co-conspirators believed to be a rival gang
      member. DIAZ-HERNANDEZ and other MS-13 members and associates had identified Victim
      I as a potential rival gang member and obtained approval to kill him. In Summer 2015, gang
      members identified the apartment in Frederick, Maryland where Victim I was living with his
      girlfriend, Victim 3. On August 28, 2015, DIAZ-HERNANDEZ, along with other gang members,
      went to the apartment and waited inside for Victim I to return. When they did, DIAZ-
                                                         10
HERNANDEZ and two other gang members attacked Victim I and Victim 3 with a machete and
knives. Although both survived, the attack on Victim I left him with both hands nearly severed,
and severe wounds to his face and torso. He has no use of one hand and limited use of the other.

                                               • ••
        I have had this statement of facts translated and read to me, and have carefully reviewed it
with my attorneys. I understand it, and I voluntarily agree to it. I acknowledge that it is true and
correct and do not wish to change any part of it. I am completely satisfied with the representation
of my attorneys.


I - "3 c>   -   1:6
Date                                                  Elvin   iaz-Hernandez



        We are Elvin Diaz-Hernandez's attorneys. We have carefully reviewed every part ofthis
Statement of Facts with him through an interpreter. To our knowledge, his decision to sign it is
an informed and voluntary one.



Date


Date




                                                II
